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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 S.C.G. a minor child, through his        )
 next friend, JAMANIC REAVES,
 and K.L.P., on behalf of themselves      )
 and all others similarly situated,       )
                        Plaintiff,        )
                                          )
 vs.
                                          )   Case No.: 1:22-CV-01324-LMM
 CANDICE BROCE, in her official           )
 capacity as COMMISSIONER OF
 THE GEORGIA DEPARTMENT                   )
 OF HUMAN SERVICES,
                                          )
         Defendants.                      )
                                          )

 DEFENDANT’S REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS

        Defendant Candice Broce, in her official capacity as Commissioner of the

Georgia Department of Human Services, (hereinafter “Defendant” or “DHS”) files

this Reply Brief in Support of Defendant’s Motion to Dismiss, showing as follows:

        I.          STANDING

        Plaintiffs have no standing or their claims are already moot because they seek

injunctive relief to force DHS to take specific actions in conjunction with case plans




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or permanency plans which expired when Plaintiffs turned 18,1 and to afford them

notice and due process review of a denial of extended care benefits prior to any

application for such benefits.2 The Amended Complaint frames these claims in terms

of actions Plaintiffs allege should have happened before they turned 18. Yet, in

order to avoid dismissal of their claims based on lack of standing or mootness,

Plaintiffs endeavor to make it appear as though there is a substantial continuing

controversy regarding acts which allegedly should happen after their 18th birthdays.

Plaintiffs’ Amended Complaint and Georgia law, however, make it clear that this

Court lacks subject matter jurisdiction and the remedies Plaintiffs seek would not

redress their alleged injuries.

            A. Department of Family and Children Services’ (“DFCS”)
               Obligation to Implement Plaintiffs’ Case Plans and Permanency
               Plans Expired When They Turned 18.

         Plaintiffs argue that DFCS was obligated to retain and pay for an immigration

attorney to apply for special immigrant juvenile status (“SIJS”) as a part of DFCS’s

obligation to implement the Plaintiffs’ respective case plans and permanency plans.

Putting aside whether implementation of a case plan or permanency plan carries with



1 Doc.   11 ¶¶ 55-57, 60-62; O.C.G.A. § 15-11-214(c).
2 Doc.   11 ¶¶ 68-70.
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it an obligation to retain and pay for immigration counsel (which it does not), the

law is clear that DFCS’s obligations to implement both case plans and permanency

plans expire as a matter of law upon a child turning 18.

        1.          Case Plans and Permanency Plans

        Once a child enters DFCS custody, the child’s caseworker prepares a case

plan. See 42 U.S.C. § 671(a)(16); O.C.G.A. § 15-11-200; O.C.G.A. § 15-11-201.

The case plan is submitted at an initial hearing to the juvenile court for adoption with

or without modification. O.C.G.A. § 15-11-200. After a period of time, the juvenile

court must also hold a permanency plan hearing to determine the future permanent

legal status of each child in DFCS custody. O.C.G.A. § 15-11-230 (a) and (b).

Thereafter, the court reviews the permanency plan at least every six months during

the time a child is in DFCS custody. O.C.G.A. § 15-11-230 (c). At each permanency

plan hearing, the juvenile court is required to make numerous findings of fact,

including whether DFCS has made reasonable efforts to finalize the plan in effect,

and DFCS’s compliance with the permanency plan. O.C.G.A. § 15-11-232 (d).

        Upon turning 18, a child in DFCS custody ages out of the foster care system,

at which time the child is no longer entitled to dependency benefits, and “all orders

in connection with dependency proceedings affecting him or her then in force

terminate and he or she shall be discharged from further obligation or control.”
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O.C.G.A. § 15-11-214(c).3 Consequently, once Plaintiffs turned 18 (or, in the case

of K.L.P., when the legislative extension ended), DHS had no further obligations

relating to any previous case plans or permanency plans and the orders of the

juvenile courts adopting those plans terminated.

        2.      Any Obligation to Hire Immigration Counsel (Such Obligation is
                Denied) Expired When Each Child Turned 18 or Became Moot When
                Plaintiffs Secured Their Own Counsel.

        Putting aside whether implementation of a case plan or permanency plan

carries with it a legal obligation for DFCS to retain and pay for immigration counsel

for the Plaintiffs (which is denied),4 Defendant has no ongoing obligations with

regard to such case plans or permanency plans now that Plaintiffs have each turned

18 and the legislative extension has expired. Plaintiffs’ “injury” (i.e., allegedly not

having their permanency case plans followed before the orders adopting those plans

terminated upon Plaintiffs’ 18th birthdays) or not having obtained SIJS before

turning 18, cannot be redressed by a favorable decision. Strickland v. Alexander,

772 F. 3d 876, 883 (11th Cir. 2014). Furthermore, since Plaintiffs have already


3 While this period was briefly extended for K.L.P. due to legislation adopted during
the COVID-19 pandemic, once the extension ended, the benefits were terminated
automatically, as if she just turned 18. (See Motion to Dismiss, Doc. 13-1, p. 4, n.4).
4 Plaintiffs cite no law which requires DFCS to pay for an immigration attorney for
a child in foster care and there is no such law.
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retained counsel and submitted their respective SIJS applications (prior to turning

18 and prior to suit being filed)5, Plaintiffs fail to “allege facts from which it appears

there is a substantial likelihood that [either] will suffer injury in the future.” Id.

Plaintiffs’ claims must be dismissed because there is no actual, ongoing case or

controversy that this Court may adjudicate. See Brooks v. Ga. State Bd. of Elections,

59 F. 3d 1114, 1118 (11th Cir. 1995).

            B. Similarly, Plaintiffs Lack Standing To Demand Notice And A
               Hearing For Extended Care Benefits For Which They Have Not
               Applied.

        Plaintiffs contend that they meet the criteria to qualify for extended foster care

benefits which, under certain circumstances, are available to 18 to 21 year old

persons who age out of foster care. However, extended foster care benefits are not

extended to young adults automatically upon turning 18. Instead, Plaintiffs must

apply for such benefits by executing a voluntary placement agreement as required

under O.C.G.A. § 15-11-340 (a), which states in relevant part:

        (a) A child may receive extended care youth services from DFCS. In
            order to receive such services, he or she must be between 18 and 21
            years of age, sign a voluntary placement agreement with DFCS, and
            meet objective eligibility criteria established by DFCS . . .

5 As stated previously, DFCS cannot control the timing for USCIS’s consideration
of an application, the availability of a visa number, or the length of time it may take
Plaintiffs to obtain lawful permanent resident status.
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O.C.G.A. § 15-11-340 (a) (emphasis supplied). Plaintiffs have not executed or

presented such agreement to the Defendant (nor do they allege having done so).

While Plaintiffs suggest that they were not afforded this opportunity, the voluntary

placement agreement form document is publicly available. See Exhibit 1, Georgia

DFCS Voluntary Placement Agreement for Extended Foster Care Form.6 Due to

their failure to execute the statutorily required voluntary placement agreement and

proceed through the review process explicitly outlined in that document (as

discussed more fully infra, Section III(B)), Plaintiffs have presented no justiciable

case or controversy regarding a right to further due process and this Court lacks

subject matter jurisdiction over those claims. Strickland, 772 F. 3d at 882-83.

        Plaintiffs’ claims must be dismissed pursuant to Fed. R. Civ. P. 12(b)(1)

because this Court lacks subject matter jurisdiction. Plaintiffs lack standing or their

claims are moot. As discussed in the Motion to Dismiss (and not responded to by

Plaintiffs), since the class has not been certified, the entire class action must be

dismissed under these circumstances.




6 The Georgia DFCS Voluntary Placement Agreement Form is available on the State
of     Georgia’s      Online     Directives     Information      System       website:
https://odis.dhs.ga.gov/General.
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        II.         ABSTENTION

        Abstention is appropriate because there is judicial oversight available and

provided to children in DFCS custody relative to the development and

implementation of case plans and permanency plans, and this Court would be

usurping the authority of the juvenile courts and required to micromanage the

underlying case plans of each putative class member throughout their stay in foster

care.    Plaintiffs contend that Younger abstention is inappropriate because the

underlying state court cases that would be impacted by a ruling by this Court do not

fall into any of the three categories set forth in Sprint.7 (Doc. 21, pp. 13-16).

Plaintiffs’ arguments are unavailing, and this Court should abstain from exercising

jurisdiction over this matter.

        A.          Under the Sprint Analysis, Abstention is Still Warranted.




7 Juvenile court proceedings, like the ones which would be impacted for each class
member who is under 18 and still in DFCS custody, constitute ongoing judicial
proceedings for purposes of Younger abstention analysis. See Lamons v. Jordan,
No. 5:13cv373/RS/EMT, 2014 U.S. Dist. LEXIS 46778, at *15-18 n.3 (N.D. Fla.
Mar. 26, 2014) (a post-Sprint decision holding that Florida’s similar juvenile court
statute requiring oversight hearings at least every six months qualifies as an ongoing
proceeding for Younger analysis and noting that “[t]he pending state proceedings
need not be a single trial that is expected to resolve all issues in a matter.”) (internal
citations omitted). (See also Doc. 13-1, pp. 13-15).

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          Plaintiffs’ argument that Sprint calls for a different legal analysis or results

in a different outcome is misplaced. Plaintiffs contend that the underlying juvenile

court cases pending for all children in DFCS custody do not involve any ongoing:

(1) state criminal prosecution, (2) civil enforcement proceeding, or (3) civil

proceeding involving orders in furtherance of a state court’s ability to perform its

judicial functions, and that, as a result, this Court does not even need to move onto

the Younger elements. Id. (citing Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 73

(2013)).

        Even after Sprint, 11th Circuit courts have not always strictly followed that

case’s analytic framework. See, e.g., White v. Cox, No. 21-11337, 2021 U.S. App.

LEXIS 35107, at *4 (11th Cir. Nov. 29, 2021) (not citing Sprint but citing 31 Foster

Children8 and then jumping straight to the three-pronged analysis set forth in the

latter case). This sometimes occurs in instances where the analyzing court collapses

the third Sprint prong (i.e., a civil proceeding is at issue involving orders in



8Plaintiffs imply that 31 Foster Children, a chief case cited by Defendant, should
be disregarded because it predates Sprint. (See Doc. 21, p. 16). However, as recently
as last year, that case was held to be good law. See A.A. v. Buckner 2021 U.S. Dist.
LEXIS 209247, at *17 (M.D. Ala. Oct. 29, 2021) (rejecting argument that 31 Foster
Children is no longer controlling in the 11th Circuit and noting that 31 Foster
Children engaged in the type of analysis later set forth in Sprint.).

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furtherance of a state court’s ability to perform its judicial functions) into the first

Younger prong (i.e., the plaintiff’s requested relief would interfere with state judicial

proceedings) because the two issues significantly overlap. See, e.g., Shepherd v.

United States Bank, Nat’l Ass’n, 839 F. App’x 304, 306 (11th Cir. 2020) (collapsing

the analysis). This is a case where such overlap exists because the case plans and

permanency plans (which are adopted as juvenile court orders) Plaintiffs ask this

Court to modify are central to the juvenile court’s ability to perform its express

judicial function of managing Georgia’s dependency proceedings.9

        Whether the Court considers the Sprint and Younger factors separately or

together, abstention is warranted here. Plaintiffs ask this Court to substitute its

judgment for the judgment of Georgia’s juvenile courts, for example by ordering the

amendment of case plans and permanency plans (which are adopted as juvenile court


9 Georgia’s juvenile courts are uniquely enshrined in the State’s Constitution and
statutorily empowered to oversee and administer the exact dependency proceedings
in which Plaintiffs ask this Court to insert itself. Ga. Const. Art. VI, § I, Para. I
(vesting power in the juvenile court system); O.C.G.A. §§ 15-11-1 (setting forth the
purpose of the juvenile court system in general), -100 (setting forth the purpose of
the juvenile court system in overseeing dependency proceedings); see also DAVIS &
SHULMAN’S GA PRACTICE AND PROC. § 2:9 (2020-21 ed.) (“[T]he juvenile court is
granted exclusive original jurisdiction over juvenile matters and shall be the sole
court for initiating action concerning any child who is[,]” among other things
“alleged to be a child in need of services” or “alleged to be a dependent child[.]”)
(emphasis supplied). In other words, Plaintiffs’ requested relief would interfere with
state court judicial functions.
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orders) to include timetables to accomplish certain immigration goals and require

DFCS to hire immigration counsel.10 For a federal court to dictate the substance and

progress of a juvenile court proceeding would be analogous to a Georgia state court

issuing an order in one of this Court’s cases. That is the precise type of “unseemly

conflict between state and federal judges” abstention is intended to prevent. Luckey

v. Miller, 976 F.2d 673, 679 (11th Cir. 1992).

        B.          Plaintiffs do not rebut DHS’s analysis of the Younger elements.

        Plaintiffs leave unaddressed, and thus do not challenge, DHS’s analysis of the

Younger elements, to wit: that (i) Plaintiffs’ requested relief would interfere with

pending state judicial proceedings, (ii) that the state proceedings involve important

state interests, and (iii) Plaintiffs have failed to press their claims in the underlying

state court proceedings. (Doc.13, p. 12-17). “When a plaintiff fails to respond to an

argument in a motion to dismiss a complaint pursuant to Fed. R. Civ. P. 12(b),

granting the motion based solely on the party’s failure to respond to that argument



10 Post-Sprint decisions in the
                              11th Circuit have held that this type of intervention in
juvenile court proceedings falls within the third Sprint prong. E.g., Lamons, No.
5:13-CV-373/RS/EMT, 2014 U.S. Dist. LEXIS 46778, at *15; Buckner, No. 2:21-
CV-367/ECM, 2021 U.S. Dist. LEXIS 209247, at *17; see also Saleh v. Florida,
No. 3:17-cv-1465-J-34/PDB, 2018 U.S. Dist. LEXIS 2169, at *16 (M.D. Fla. Jan. 5,
2018).
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is within the discretion of a district judge.” Palacious v. Lienhard, No. 1:15-CV-

01683-TCB-JFK, 2015 U.S. Dist. LEXIS 180767, at *35 (N.D. Ga. Dec. 30, 2015)

(holding that Rooker-Feldman abstention was warranted) (citing Magluta v.

Samples, 162 F.3d 662, 664-65 (11th Cir. 1998)).

        In sum, since this case falls into the third Sprint category, and because all

Younger elements are met, abstention, and thus dismissal, is warranted.

        III.        FAILURE TO STATE A CLAIM

        Plaintiffs acknowledge that their Amended Complaint must contain sufficient

factual matter to state a claim for relief and must offer sufficient factual content to

draw an inference that defendant is liable for the misconduct alleged. (Doc. 21, pp.

16-17). It is precisely the lack of factual content to support a claim that is at issue.

While the Court may accept the facts alleged in the Amended Complaint as true for

purposes of considering a Motion to Dismiss, it is not required to accept conclusory

allegations unsupported by facts. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009);

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

            A. Plaintiffs Fail to State a Claim Under the Adoption Assistance and
               Child Welfare Act or O.C.G.A. § 15-11-220, et seq.

        The principal focus of foster care is to provide children safe shelter, food,

clothing, medical care, and access to education. Foster children may benefit from

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other services and receive assistance from other sources. In fact, in delivering

services and establishing priorities, DFCS is specifically directed, by statute, to

consider the available community resources, including charitable sources available

to children in foster care. O.C.G.A. § 15-11-202(c).

        While contending that Defendant has a duty to retain immigration counsel on

Plaintiffs’ behalf, Plaintiffs fail to account for the fact that there is no legal mandate

requiring, or even authorizing, Defendant to pay for such services. Indeed, under, at

a minimum, current DFCS policy, DFCS is prohibited from paying for immigration

counsel. Furthermore, Defendant has a statutory duty to utilize community and

charitable resources in the provision of services to Plaintiffs. Id. In other words,

there is no legal obligation for DFCS to provide every service a child in foster care

might benefit from or to pay for all services which are desired under the case or

permanency plan. DFCS facilitates the identification of community services and pro

bono legal counsel who provide such assistance. Even putting aside that the law

does not require DFCS to retain and pay for immigration attorneys for Plaintiffs,

Plaintiffs fail to state a claim because they, in fact, did not need DFCS to do so; both

Plaintiffs retained immigration counsel prior to leaving foster care and each Plaintiff

applied for SIJS with the assistance of an immigration attorney prior to turning 18

and prior to filing suit.
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        Plaintiffs allege that DFCS failed to “timely pursue” SIJS on behalf of

Plaintiffs by failing to pay for immigration counsel on their behalf, without

providing any factual allegations to support the bare and conclusory assertion.

Plaintiffs acknowledge that the juvenile court must first determine that Plaintiffs

could not be reunified with family or repatriated to their home country before they

become eligible to file a SIJS application. Yet, they fail to plead when this occurred

for each Plaintiff and when Defendant’s efforts were first made to pursue SIJS

(which has many facets), let alone the time when immigration counsel was secured

for each Plaintiff. Plaintiffs also do not allege what would have been “timely”

actions by DFCS or identify any law or rule that created an obligation for DFCS to

act on this issue within a certain timeframe. Without more, Plaintiffs’ allegations of

untimely action are merely bare conclusions insufficient to state a cognizable claim

and should be dismissed.

            B. Plaintiffs Fail to State a Due Process Claim

        Plaintiffs correctly state that for due process to attach to a “property right,”

they must have a legitimate claim of entitlement to the property and not merely and

abstract need or desire for it. (Doc. 21, p. 20). In this instance, Plaintiffs must

demonstrate that they have taken the necessary steps to avail themselves of extended


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foster care benefits to trigger any determination of eligibility,11 notice, and

opportunity to redress any denial of benefits. As discussed supra, Plaintiffs have

not alleged that they signed the voluntary placement agreement (or even attempted

to do so).

        Further, due process safeguards exist at various stages along the way. In fact,

the voluntary placement agreement provides a mechanism for review at the

application stage:




Exhibit 1, p. 4. Plaintiffs do not allege that they were unable to mutually agree with

their respective County Director or Case Manager (both of whom must also sign the

voluntary placement agreement) to their extended foster care request or that they




11 The Court need not reach Plaintiffs’ arguments that SIJS alone meets the
definition of “qualified alien” under 8 U.S.C. § 1641 (which is not correct) or that
extended foster care benefits are excepted from 8 U.S.C. § 1621 and O.C.G.A. § 50-
36-1 (which, at a minimum, would require a presentation of more facts than are
presently before the Court). Plaintiffs seek an injunction “enjoining Defendant from
denying Plaintiffs extended foster care services without due process of law” not an
injunction to prevent denial of the benefits altogether or a ruling from this Court
about whether they are ultimately entitled to such benefits notwithstanding their
immigration status.
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sought review by the State of Georgia RYSE/Chafee Program Director or anyone

else. This is fatal to their due process claim.

        Plaintiffs’ “property interest” (if any) in extended foster care is created and

defined by the statute. See Bd. of Regents v. Roth, 408 U.S. 564, 576 (1972)

(“Property interests, of course, are not created by the Constitution. Rather they are

created and their dimensions are defined by existing rules or understandings that

stem from an independent source such as state law – rules or understandings that

secure certain benefits and that supports claims of entitlement to those benefits.”)

(emphasis supplied). Plaintiffs do not allege facts that show a legitimate claim of

entitlement to extended foster care benefits because they have not taken the

necessary steps outlined in that statute to obtain any such benefits or to even trigger

a determination of their entitlement to the same. See O.C.G.A. § 15-11-340(a).

Plaintiffs, therefore, fail to state a due process claim as a matter of law.

        WHEREFORE, Defendant prays the Court grants her Motion to Dismiss.

        I certify that the foregoing has been prepared with Times New Roman font

in 14-point size, as approved by the Court in N.D. Ga. Local Rule 5.1(C).




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          This 10th day of August 2022.


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                             CERTIFICATE OF SERVICE
          I hereby certify that I have this day served a copy of the within and

  foregoing DEFENDANT’S REPLY BRIEF IN SUPPORT OF MOTION TO

  DISMISS upon all parties to this matter by using the CM/ECF system which will

  send a notice of electronic filing to the following:

   Thomas C. Rawlings                          Joshua H. Norris
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          This 10th day of August 2022.
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